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FAX

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SUBJECT: Telephone Meeting Jan 22, 1999 ET, NT, Rollin 5 and Robert 5.
DATE. Jan 22, 1999

PAGES: Firat Of TWO Papes

Robert reported 2s follows:

1) Normally one tests product on T-¥ for two weeks at cost $25-50,000. Then analyse fhe
results and tun second test at another substantial cost. When tests are done and changes
made in ad etc then is reli out and “sucess”. However, money is Limited so he ts running
very limited, very slow and very conservative first test. We are entering second test
phase.

2} We did not receive cnough calls first week.Changed the ad, and second week received
“lots of calls”. BUT 70% inquiries, 30% conversion. Should be 45-70%

conversions! !"Bazagr® West and he investigated what questions were asked. Surveyed
Tele-Marketers Realized big issue with viewer is what age child is the product for? Will
change the script to first ask childs age and then recommend Jack's Attic or Howse.

3) Becheve up-seils are turning off some customers. Can’t yet answer why. West has 100-
156 tele-marketers to survey, Script may be confusing. Will get results of survey.

4) Confusion over price. Many see $19.99 and don’t catch “2 payments” Wife may fee!
has authority to order $20.00 but must consult with Hushanl for sum aver that amount.

5) To correct some of these problems may have to tweak the ad. Might get thechange fire
if not could cost $4-5,000. Is investigating how to handle.

6) STEF 1, Change West scrip. Try new scrip in same aad a few new areas. Tone down
up sell, Surprised that most calls are from women, since experience 15 that software is
Mainly purchased by Husband who knows the vomputer, and ts his depart. But this is
good sign.He believes it may be because Vicla is prominent in the ad, However, men are

' OGL?

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more prone to spend larger amount of $ without consulting with spouse than are women.
This may affect tum off with up-sell.

7} Crt T-V and Learning Channel seem best so far. Received on one ad ,49 calls but only
10 orders. Should have received 40-40 orders.

8) The new commercial with hook has only run 2 few times. Is investigating if it
produces more. West and Rbt feel commercial ts preat and wall eventually produce.

9) May have to change the ending of commercial to say in effect’ we have a similar
product for 2-6 year olds, Jacks House”. Could cost up ia $5,000 io make change.

16) All agreed Rbt is to change serip and up sell, Wit! send to Vicki for final OK. He can
nat yet pick the shows oc 2chial time but is on “rotation” which makes it impossible to
insure repetition of ad.

11) We are NOT on this week-end. Rbt wants more info before selecting spots.

12) Has not yet made determination of which times, are best for spots

133 We have spent to date “about” Week one = $9504; week two = $5076, 0f budget

14} May have tele-marketer try to get phone wumabers of a referal and we cin call them.

13) ET brought op fact that his West reports for week end Jan 17 show 116 orders and
Blagman’s report shows only 75. He will check tu see why.

16) May be over priced on video since public is used to paying $10.at stores. There is
now an encyclopedia ina t-v ad for $9.99, West can not divulge details.

- 1%) Remenber that our market is limited, customer need computer and certain age
children, Have to market to them. ,

18} Price of'a celebrity io endorse product in ad is about $25,000 and/or $-3% of after
SAIES.

193 if were to lst in yellow pages under ane word, “Software", 2 words, software
educational, 3 words softare educational children.

20) Rbt to send us ad schedule for next week so maybe we can see ad and NT wants to
call and see how scrip sours,

21) We All Thanked Rbt For Being So Careful With Our sssessesssssse

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